                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION

 COMMONSPIRIT HEALTH,                        )
                                             )
         Plaintiff/Counter-Defendant,        )
                                             )
         v.                                  )
                                             )     Case No. 3:21-cv-00460
 HEALTHTRUST PURCHASING                      )
 GROUP, L.P., and                            )
 HPG ENTERPRISES, LLC,                       )
                                             )
         Defendants/Counterclaimants.        )


              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) the parties stipulate

to the dismissal with prejudice of this action, with each party to bear its respective

costs.

         SO STIPULATED this 27 day of October, 2023:

  /s/ Victor J. Domen, Jr. (with permission)      /s/ W. David Bridgers
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                         CERTIFICATE OF SERVICE

       I hereby certify that, on October 27, 2023, a true and accurate copy of the
foregoing has been served by the Court’s electronic filing system on the following:

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